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    9
                           IN THE UNITED STATES DISTRICT COURT
   10
                          FOR THE CENTRAL DISTRICT OF CALIFORNIA
   11
                                     SOUTHERN DIVISION
   12
   13
   14   XINGFEI LUO,                                 8:22-cv-01640-MEMF-KES
   15                                 Petitioner, ANSWER TO PETITION FOR
   16                v.                           WRIT OF HABEAS CORPUS

   17
        THE PEOPLE OF THE STATE OF                   Judge:     The Honorable Karen E.
   18   CALIFORNIA,                                             Scott
   19                               Respondent. Action Filed: 9/06/2022
   20
   21
             Respondent respectfully submits this Answer to the Amended Petition for Writ
   22
        of Habeas Corpus under this Court’s Order and in accordance with Rule 5 of the
   23
        Rules Governing Section 2254 Cases in the United States District Court.
   24
             Respondent denies all allegations contained in Petitioner Xingfei Luo Petition
   25
        that her custody is unlawful and hereby asserts:
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                                                 1
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    1                                              I.
    2
             Luo is lawfully in Respondent’s custody, serving a three-year term of informal
    3
        probation for misdemeanor convictions of vandalism, unlawfully disseminating
    4
        private photographs, violating a protective order.
    5
    6
                                                  II.
    7
    8        The Petition for Writ of Habeas Corpus is subject to the relitigation bar
    9   Congress enacted in 28 U.S.C. § 2254(d). To warrant relief, Luo bears the burden
   10   of showing that the state court’s adjudication on the merits of his claims resulted in
   11   a decision that was “contrary to, or involved an unreasonable application of, clearly
   12   established Federal law, as determined by the” United States Supreme Court, or
   13   was “based on an unreasonable determination of facts in light of the evidence
   14   presented.” § 2254(d).
   15
                                                  III.
   16
   17        The Petition is timely.

   18                                             IV.
   19
   20        In her Amended Petition before this Court, Luo raises thirty-five claims.

   21   Among these many claims are: First Amendment challenges to the constitutionality

   22   of California’s unlawful distribution statute and protective orders; several asserted

   23   Brady1 violations; allegations of suborned perjury and other acts of misconduct by

   24   the prosecutor and law enforcement; purported violations of Luo’s speedy trial

   25   rights by the state and the public defender’s office; attacks on the sufficiency of

   26   evidence concerning multiple elements of the offenses and restitution order; claims

   27   of federal and state law error concerning jury instructions and the unlawful

   28        1
                 Brady v. Maryland, 373 U.S. 83 (1963 (Brady)
                                                  2
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    1   admission of testimonial hearsay, compelled self-incrimination, and unduly
    2   prejudicial exhibits; as well as an assertion of factual innocence; and a plethora of
    3   ineffective assistance claims as to trial and appellate counsel, ranging from alleged
    4   failure to investigate and breakdown in communication to complaints about
    5   counsels’ argument selection and tactical choices about objections and witness
    6   examination.
    7        None of these arguments warrant relief. A number of them are not cognizable
    8   on federal habeas review, either because they do not allege a violation of federal
    9   law or do not raise a challenge affecting the validity of Luo’s convictions or the
   10   legality of the state’s custody over her. Furthermore, most of these claims have
   11   been defaulted through various independent and adequate state procedural bars,
   12   stemming from her failure to file contemporaneous objections at trial, failure to
   13   raise available issues on direct appeal, improperly raising sufficiency challenges
   14   through collateral attack, and presenting her habeas claims to the state courts in
   15   piecemeal fashion through successive petitions. Luo has failed to offer cause to
   16   excuse her defaults, and she cannot show actual prejudice or a miscarriage of
   17   justice from a violation of federal law because each of her assertions fails on the
   18   merits. With regard to her remaining claims for relief, Luo has not met her exacting
   19   burden to show that the California courts’ resolution of those claims was contrary
   20   to, or based on an unreasonable application, of clearly established United States
   21   Supreme Court authority.
   22        This Court should deny the Amended Petition.
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    1                                            V.
    2
    3        To the extent the state courts made express and implied factual findings, the
    4   presumption of correctness mandated by 28 U.S.C. § 2254(e)(1) applies to such
    5   findings.
    6
                                                 VI.
    7
    8        Luo is not entitled to an evidentiary hearing to resolve any of his claims. 28
    9   U.S.C. § 2254(e)(2); Cullen v. Pinholster, 563 U.S. 170 (2011).
   10
   11                                           VII.
   12        The relevant facts and procedural history set forth in the accompanying
   13   Memorandum of Points and Authorities are incorporated herein by this reference.
   14   Except as expressly admitted here or in the Memorandum of Points and Authorities,
   15   Respondent denies that Luo confinement is improper, unconstitutional, or unlawful.
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    1        Wherefore, Respondent respectfully requests that the Amended Petition for
    2   Writ of Habeas Corpus be denied and that any request for a certificate of
    3   appealability be denied.
    4
    5   Dated: November 15, 2023                     Respectfully submitted,
    6                                                ROB BONTA
                                                     Attorney General of California
    7                                                CHRISTOPHER P. BEESLEY
                                                     Supervising Deputy Attorney General
    8
    9
                                                     /s/ Michael D. Butera
   10                                                MICHAEL D. BUTERA
                                                     Deputy Attorney General
   11                                                Attorneys for Respondent
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                                 CERTIFICATE OF SERVICE
   Case Name:      Luo v. The People of the State           No.    8:22-cv-01640-MEMF-KES
                   of California

   I hereby certify that on November 15, 2023, I electronically filed the following documents with
   the Clerk of the Court by using the CM/ECF system:


             ANSWER TO PETITION FOR WRIT OF HABEAS CORPUS


   Participants in the case who are registered CM/ECF users will be served by the CM/ECF system.
   I am employed in the Office of the Attorney General, which is the office of a member of the
   California State Bar at which member's direction this service is made. I am 18 years of age or
   older and not a party to this matter. I am familiar with the business practice at the Office of the
   Attorney General for collection and processing of correspondence for mailing with the United
   States Postal Service. In accordance with that practice, correspondence placed in the internal
   mail collection system at the Office of the Attorney General is deposited with the United States
   Postal Service with postage thereon fully prepaid that same day in the ordinary course of
   business.
   I further certify that some of the participants in the case are not registered CM/ECF users. On
   November 15, 2023, I have caused to be mailed in the Office of the Attorney General's internal
   mail system, the foregoing document(s) by First-Class Mail, postage prepaid, or have dispatched
   it to a third party commercial carrier for delivery within three (3) calendar days to the following
   non-CM/ECF participants:


   Xingfei Luo
   P.O. Box 4886
   El Monte, CA 91734
   Petitioner in Pro Se


   I declare under penalty of perjury under the laws of the State of California and the United States
   of America the foregoing is true and correct and that this declaration was executed on November
   15, 2023, at San Diego, California.


                   K. Yeoun                                            /s/ K. Yeoun
                   Declarant                                             Signature

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